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                   United States District Court for the District of Colorado
                              Magistrate Judge Kristen L. Mix

                                   Practice Standards
                                  Updated January 15, 2016


   1.    Attorneys and pro se parties will cooperate with each other in providing available
         dates for hearings and depositions.

   2.    Attorneys and pro se parties will promptly and courteously respond to each other’s
         correspondence and phone calls.

   3.    Attorneys and pro se parties will promptly supplement disclosures and discovery
         responses.

   4.    Attorneys and pro se parties will not make demeaning or abusive comments to
         counsel, litigants, or deponents. If the conduct is not permitted before the Court in
         person, it is not permitted in depositions.

   5.    Attorneys and pro se parties will fully confer about discovery disputes before
         bringing them to the attention of the Court. While conferring, attorneys and pro se
         parties will disclose every reason for their position regarding each discovery dispute.

   6.    Attorneys and pro se parties will be fully prepared to make appropriate and thorough
         arguments at all hearings. Attorneys will be prepared to present legal authority
         supporting their position.

   7.    Attorneys and pro se parties will be courteous to my staff at all times.

   8.    Attorneys and pro se parties will read and follow Court orders.

   9.    If the Court takes a matter under advisement and has not issued a written ruling
         within thirty (30) calendar days, attorneys and pro se parties will call (303) 335-2770
         and politely inquire into the status of the Court’s ruling.

   10.   Attorneys and pro se parties will note that the Court reserves the right to impose
         measured, proportionate sanctions for inappropriate conduct. Such sanctions
         include in-court admonishment, award of costs for discovery violations, referral to
         the disciplinary system of the Colorado bar, dismissal of claims or defenses and
         monetary awards.




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                    United States District Court for the District of Colorado
                               Magistrate Judge Kristen L. Mix

                        Discovery Dispute Hearing Procedures
                                    Updated May 19, 2020

   The steps for following Magistrate Judge Mix’s discovery dispute procedure are as follows:

   Step 1:      Counsel must meaningfully confer regarding one or more discovery disputes
                pursuant to Local Rule 7.1(a). Counsel may choose to confer about only one
                dispute at a time or several disputes at once. This decision is up to counsel,
                not the Court.

                If the dispute relates to taking a deposition, see Step 2.A. below. If the
                dispute relates to written discovery, see Step 2.B. below. If the dispute
                relates to any other type of discovery issue, see Step 2.C. below.

   Step 2.A.:   If a dispute about taking a deposition is not resolved, counsel for the party
                seeking the protective order must send an email addressed to
                Mix_Chambers@cod.uscourts.gov and to opposing counsel stating that the
                parties have a dispute about taking a deposition. The email must also
                contain the case number, the name of the party seeking the protective order,
                and the name of the deponent. The email should not contain argument about
                the merits of the discovery issue. The deposition shall be stayed pursuant
                to Local Rule 30.2(a) when the email is sent. The Court will contact counsel
                within three (3) court business days to set a hearing on the dispute. The stay
                of the deposition shall remain in effect until the Court issues its ruling.

   Step 2.B.:   If a dispute about written discovery (requests for production, interrogatories,
                etc.) is not resolved, the moving party must complete the written discovery
                dispute chart in the form attached. The moving party must send the chart,
                the disputed discovery requests and the disputed responses to opposing
                counsel and to the Court at Mix_Chambers@cod.uscourts.gov. The Court
                will contact counsel within three (3) court business days to set a hearing on
                the dispute. Do not submit documents for in camera review without obtaining
                prior permission from the Court.

   Step 2.C.:   If a dispute does not involve written discovery and is not resolved through
                conferral with opposing counsel, counsel must agree on a mutually
                convenient time to call the Court for a discovery hearing regarding all
                disputes about which they have fully conferred but failed to reach agreement.
                Call 303-335-2770.

                No attorney can insist on contacting the Court for a discovery hearing at a
                time when another attorney is not available. If an attorney is not available for
                a conference call to the Court for a discovery hearing when contacted by
                opposing counsel, s/he must provide opposing counsel with alternate dates

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               and times to contact the Court. This eliminates the possibility that one party
               will have an unfair advantage over another in preparation for a discovery
               hearing.

               The Court is not responsible for assuring that multiple counsel for the same
               party are on the line for a telephone hearing. The Court requires only one
               attorney of record on the line for each party involved in the dispute. If counsel
               for a party want co-counsel for the same party to participate in the telephone
               hearing, they are responsible for ensuring that co-counsel are available to
               participate on the date and time chosen by them for the hearing.

               The Court will not continue hearings based on the sudden unavailability of
               co-counsel for a party. As long as each party involved in the dispute is
               represented by at least one attorney of record, the hearing will proceed.

               Any materials provided to the court within 48 hours of a discovery
               hearing SHALL NOT BE ACCEPTED OR REVIEWED unless the Court
               specifically orders otherwise.

   Step 3:     When counsel call the Court for a discovery hearing, the Court may
               determine, off the record, whether the issue is appropriate for immediate
               adjudication. If not, the Court will set the matter for a hearing at a mutually
               convenient date and time in the future.

   Step 4:     If the matter is appropriate for immediate adjudication, the call will be
               transferred to the courtroom and the hearing will be conducted. If the
               judge determines that the matter is complex and briefing is required, the
               judge will set a briefing schedule. If the judge is not immediately available,
               the hearing will be set at a mutually convenient date and time in the future.

   Warnings:   The discovery dispute process outlined above will likely be your only
               opportunity to present legal authority supporting your position to the
               Court. Hence, be prepared to do so at the time of the hearing.

               Filing a disputed discovery motion without permission from the
               court will result in the motion being stricken, and may result in the
               imposition of sanctions. To the extent that these procedures conflict
               with the Local Rules of the Court, these procedures take priority over
               the Local Rules.

               Spoliation is a discovery issue, and hence these procedures apply to
               disputes regarding spoliation. If the alleged spoliation involves
               written discovery, the parties shall use Step 2.B. above.

               No party or non-party may submit documents for in camera review
               without first receiving permission from the Court to do so.


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